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      MICHAEL TIPTON
 9

10
                            UNITED STATES DISTRICT COURT
11                         CENTRAL DISTRICT OF CALIFORNIA
12

13
      MICHAEL TIPTON, an Individual,            Case No.: 2:22-cv-01326-ODW(JPRx)
14
                                 Plaintiff,
15                                              NOTICE OF MOTION AND
            vs.                                 MOTION TO REMAND TO
16                                              STATE COURT PURSUANT TO 28
                                                USC §1447(c)
      WAL-MART STORES, INC., a
17
      Delaware Corporation; BRENDAN       Filed concurrently with Points and
18                                        Authorities;
      TALBOTT, an Individual; and DOES 1- Kreiman; and Declaration of Baruch
                                                        Proposed Order
      100, inclusive
19                                        Judge:          Hon. Otis D. Wright, II
20                           Defendants.
                                           Date:          May 2, 2022
21                                         Time:          1:30 P.M.
                                           Courtroom: 5D
22

23

24          TO THE HONORABLE COURT, ALL PARTIES, AND THEIR

25    ATTORNEYS OF RECORD:
26          PLEASE TAKE NOTICE that at 1:30 P.M. on Monday May 2, 2022, in
27    Courtroom 5D of the above-entitled court, located at 350 West First Street, Los
28
      Angeles, California 90012, Plaintiff Michael Tipton will and hereby does move this
                                                1
                            NOTICE OF MOTION TO REMAND TO STATE COURT
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1     Court for an order, pursuant to 28 U.S.C. § 1447(c) and this Court’s local rules,
 2
      remanding this case to the Superior Court of California in the County of Los Angeles
 3
      for the reasons set forth herein.
 4
            This motion is made on the ground that the federal court lacks subject matter
 5
      juridisction over the case and on the ground that the matter was improperly removed
 6

 7    by Defendants from Los Angeles County Superior Court this second time. Defendant

 8    has failed to provide evidence sufficient to prove that complete diversity exists in
 9    this case. See, 28 U.S.C. § 1332(a). Further, the state court complaint raises only
10    state law claims. No federal statute or policy is implicated in the case.
11
            Plaintiff’s motion for remand is further based upon this notice of motion, the
12
      memorandum of points and authorities in support thereof, the declaration of Baruch
13
      Kreiman, and such other and further evidence and argument, both written and oral,
14

15    as may be presented to the Court.

16    Respectfully submitted,
17

18
      DATED: March 28, 2022                               ABRAMSON LABOR GROUP
19

20

21                                                        By:     /s/      ___________
                                                           Baruch Kreiman, Esq.
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                                                  2
                            NOTICE OF MOTION TO REMAND TO STATE COURT
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1
 2                                 PROOF OF SERVICE
 3
       I am employed in the County of Los Angeles, State of California. I am over the
 4     age of 18 and not a party to the within action. My business address is 11846
       Ventura Blvd., Ste. 100, Studio City, California 91604.
 5

 6     On the below date, I served a true copies of the foregoing documents described as
       NOTICE OF MOTION AND MOTION TO REMAND THIS ACTION TO
 7     STATE COURT PURSUANT TO 28 USC §1447(c) on all interested parties in
       this action directed as follows:
 8

 9     Daniel F. Fears, Esq.
       Andrew K. Haeffele, Esq.
10     Megan Mackie, Esq.
11     PAYNE & FEARS
       4 Park Plaza, Suite 1100
12     Irvine, California 92614
13     Attorneys for Defendant, Walmart, Inc.
         __
14     /_X_/ With the Clerk of the United States District Court of Central District of
15            California, using the CM/ECF System. The Court's CM/ECF System will
              send an e-mail notification of the foregoing filing_to the parties and
16            counsel of record who are registered with the Court’s CM/ECF System.
17      ___
       / __/ (BY PERSONAL SERVICE) I caused such envelope to be delivered by
18            hand to addressee.
19       __
        /__/ (BY OVERNIGHT MAIL) I am "readily familiar" with the firm's practice
20            of collection and processing correspondence for overnight mailing. Under
21            that practice it would be deposited with an overnight delivery service,
              courier fees paid, in accordance with the courier services terms.
22

23           I declare under penalty of perjury under the laws of the State of California
             and the United States of America that the foregoing is true and correct.
24

25           Executed on March 28, 2022 at Los Angeles, California.
26

27                                                        /s/ ________________
                                                       Declarant, Baruch Kreiman
28

                                              3
                         NOTICE OF MOTION TO REMAND TO STATE COURT
